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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA             )
                                     )
      v.                             )             CASE NO. 1:22-cr-254 (RC)
                                     )
TYLER ETHRIDGE                       )
____________________________________ )


                                NOTICE OF APPEARANCE


       Please note the appearance of undersigned counsel for the defendant, Tyler Ethridge,

pursuant to the Court’s appointment under the Criminal Justice Act (CJA).


                                            Respectfully Submitted,

                                            /s/ Peter A. Cooper
                                            Peter A. Cooper, (#478-082)
                                            400 Fifth Street, NW.
                                            Suite 350
                                            Washington DC 20001
                                            pcooper@petercooperlaw.com
                                            Counsel for Tyler Ethridge




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing Notice of Appearance is being filed
via the Electronic Court Filing System (ECF), causing a copy to be served upon government
counsel of record, this 14th day of November, 2022.

                                            /s/ Peter A. Cooper
                                            Peter A. Cooper
